Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 1 of 7 Page ID #:1488


 1 Stephanie R. Wood (SBN: 242572)
        swood@bcpc-law.com
 2   Jeffrey R. Bragalone (pro hac vice application to be filed)
        jbragalone@bcpc-law.com
 3   BRAGALONE CONROY PC
     2200 Ross Ave., Suite 4500W
 4   Dallas, Texas 75201
     Tel: (214) 785-6670
 5   Fax: (214) 785-6680
 6 Ben M. Davidson (SBN: 181464)
      Ben@dlgla.com
 7 DAVIDSON      LAW GROUP, ALC
   4500 Park Granada Blvd., Suite 202
 8 Calabasas, California 91302
   Tel: (818) 918-4622
 9
   Attorneys for Respondent
10 Acacia Research Corporation

11
                         UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
                              SOUTHERN DIVISION
13
     ACACIA RESEARCH                          Case No. 8:20-mc-127
14   CORPORATION,
                  Movant,                     MEMORANDUM OF LAW IN
15                                            SUPPORT OF MOTION BY
            vs.                               ACACIA RESEARCH
16                                            CORPORATION TO TRANSFER
     HMD GLOBAL OY,                           HMD GLOBAL OY’S MOTION TO
17                                            COMPEL UNDER RULE 45(F)
                         Respondent.
18                                            Judge: John D. Early
                                              Date: [TBD]
19                                            Time: [TBD]
                                              Place: [TBD]
20                                            Discovery Cutoff: March 18, 2021
                                              Pretrial Conference: June 29, 2021
21                                            Trial Date: August 2, 2021
22

23

24

25

26

27

28

28

     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 2 of 7 Page ID #:1489



 1                                  I. INTRODUCTION
 2         Pursuant to Federal Rule of Civil Procedure 45, movant Acacia Research
 3 Corporation (“ARC”) moves for this Court to transfer HMD’s Motion to Compel

 4 Production of Documents from ARC to the Eastern District of Texas, the court

 5 issuing the subpoena and presiding over the underlying litigation between Cellular

 6 Communications Equipment, LLC (“CCE”) and HMD. ARC, as the party subject

 7 to the subpoena, consents to the transfer. This alone provides the necessary

 8 authority for this Court to transfer the action. Additionally, the exceptional

 9 circumstances in this case warrant transfer: continuing with the Motion in this
10 Court runs the risk of not only interfering with the Eastern District of Texas in its

11 management of the underlying litigation, but also potentially leading to

12 inconsistent results between the two courts. Further, it is in the interests of this

13 Court to protect ARC, a non-party to the underlying litigation, from burdensome

14 discovery that is disproportionate to the needs of the case.

15                                   II. BACKGROUND
16         On March 17, 2020, Cellular Communications Equipment, LLC (“CCE”)
17 filed a patent infringement lawsuit against HMD Global Oy (“HMD”, Respondent)

18 alleging infringement of U.S. Patent No. 7,218,923 (“the ’923 patent”). Over the

19 course of the nine months that have elapsed since the filing of the case, the Eastern

20 District of Texas has been involved in several issues regarding the lawsuit.

21         On June 10, 2020, HMD filed a motion to dismiss the case, alleging
22 insufficient process and insufficient service. After both parties fully briefed the

23 motion, HMD withdrew it on August 12, 2020. On September 21, 2020, HMD

24 filed a second motion to dismiss, this time alleging that CCE lacked standing. That

25 motion has already been fully briefed by both CCE and HMD and is pending

26 before the Eastern District of Texas. Despite briefing that motion, HMD also

27 sought to conduct discovery related to CCE’s standing. The discovery requests at

28 issue in HMD’s Motion to Compel stem directly from HMD’s second motion to


                                   1
     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 3 of 7 Page ID #:1490



 1 dismiss as they seek information that, should it exist, HMD alleges might support

 2 its motion.

 3        There have also been multiple additional developments that further tie the
 4 underlying litigation into the Eastern District of Texas. These include: (1) HMD’s

 5 motion to transfer venue, which was fully briefed (with discovery conducted by

 6 both parties), withdrawn, and then renewed; (2) an intervening action by a third-

 7 party seeking modification of the Protective Orders already in force in the

 8 underlying litigation; and (3) CCE’s motion to enforce the protective orders, which

 9 related to HMD’s proposed joint stipulation that preceded the filing of its Motion
10 to Compel in this Court.

11                      III.   ARGUMENTS AND AUTHORITY
12     A. ARC Consents to Transfer Under Rule 45(f).
13        Federal Rule of Civil Procedure 45(f) provides for the transfer of HMD’s
14 Motion to Compel from this Court to the Eastern District of Texas:

15        (f) TRANSFERRING A SUBPOENA-RELATED MOTION. When the court where
16        compliance is required did not issue the subpoena, it may transfer a motion
17        under this rule to the issuing court if the person subject to the subpoena
18        consents or if the court finds exceptional circumstances.
19        Fed. R. Civ. P. 45(f).
20        This Court is “the court where compliance is required” while the Eastern
21 District of Texas is the court that issued the subpoena. See Dkt. No. 1-8. ARC is

22 the “person subject to the subpoena.” As confirmed by paragraph 22 of the

23 Declaration of Marc Booth, filed contemporaneously with this Motion, ARC

24 consents to the transfer. This Court therefore has the authority to transfer this case

25 to the Eastern District of Texas under Rule 45(f). See Helping Hand Caregivers

26 Ltd. v. Darden Corp., 2016 WL 10987313 at *2 (C.D. Cal. 2016) (Oliver, M.J.)

27 (Granting motion to transfer upon finding that defendant consented to transfer).

28


                                   2
     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 4 of 7 Page ID #:1491



 1     B. The Current Motion Also Has “Exceptional Circumstances” That
 2        Warrant Transfer.
 3        Even though ARC’s consent satisfies the requirements of Rule 45(f) on its
 4 own, the facts of this case also support a finding of “exceptional circumstances”

 5 that would also warrant a transfer. The Advisory Committee provided guidance on

 6 what may constitute “exceptional circumstances”:

 7        The prime concern should be avoiding burdens on local nonparties subject to
 8        subpoenas. … In some circumstances, however, transfer may be warranted
 9        in order to avoid disrupting the issuing court's management of the
10        underlying litigation, as when that court has already ruled on issues
11        presented by the motion or the same issues are likely to arise in discovery in
12        many districts.
13        Fed. R. Civ. P 45(f), Advisory Committee Notes.
14        “Exceptional circumstances” also exist and warrant transfer when said
15 transfer is in the interest of “judicial economy and efficiency,” including “avoiding

16 inconsistent results.” See Helping Hand, 2016 WL 10987313 at *2 (C.D. Cal.

17 2016) (Oliver, M.J.). The Eastern District of Texas already has before it a fully-

18 briefed motion to dismiss, ripe for resolution, that is inextricably linked to HMD’s

19 Motion to Compel. See Declaration of Maissa Chouraki (“Chouraki Dec.”), Dkt.

20 No. 1-2; Exs. B-E, Dkt. Nos. 1-4 and-1-7. HMD’s Motion to Compel and its

21 motion to dismiss address many of the same issues, which could lead to

22 inconsistent results if the two motions are resolved by different courts.

23        For example, HMD’s motion to dismiss, currently before the Eastern District
24 of Texas, is fully briefed. In its motion to dismiss, HMD requested jurisdictional

25 discovery and a stay of the case. Chouraki Dec., Ex. B, Dkt. No. 1-4 at 11. But, to

26 date, the Eastern District of Texas Court has granted neither request. Inconsistent

27 results could ensue if this Court were to grant any portion of HMD’s Motion to

28 Compel, and the Eastern District deny HMD’s request for much of the same


                                   3
     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 5 of 7 Page ID #:1492



 1 discovery via HMD’s request for jurisdictional discovery. Similarly, because

 2 HMD’s Motion to Dismiss is fully briefed, the Easter District of Texas Court may

 3 rule on the motion at any time, which would essentially moot HMD’s motion to

 4 compel – irrespective of the ruling on the Motion to Dismiss. A decision by this

 5 Court that potentially opens the floodgates for (irrelevant) evidence that is not part

 6 of the fully-briefed motion would risk disrupting the Eastern District’s resolution

 7 of HMD’s motion to dismiss. See Nexus Display Techs. LLC v. Dell Inc., Case No.

 8 15-mc-80241-KAW (N.D. Cal., November 5, 2015) (Westmore, M.J.) (“[R]uling

 9 on the motion to compel would risk disrupting the issuing court’s management of
10 the underlying litigation”). The need to avoid such a result demonstrates

11 exceptional circumstances and warrants a transfer under Rule 45. Id.

12        Further, HMD’s requests implicate a key evidentiary issue that is potentially
13 dispositive in both HMD’s Motion to Compel and the underlying motion to

14 dismiss. As HMD admits in its Memorandum of Law in Support of Motion to

15 Compel, HMD seeks documents to explain or alter the terms of a written

16 agreement. See, e.g., Memorandum of Law in Support of Motion to Compel

17 (“HMD Memo”), Dkt. No. 3-1 at 9:11-24. ARC contends, for multiple reasons,

18 that HMD’s requests seek irrelevant information. First, no amount of discovery

19 will find a written instrument conveying rights to the patent at issue, and such an

20 instrument is required under law to convey patent rights. See Enzo APA & Sons,

21 Inc. v. Geapag A.G., 134 F.3d 1090, 1093 (Fed. Cir. 1998). Second, there is no

22 ambiguity in the agreement in question, and HMD asserts no such ambiguity.

23 Thus, under the parol evidence doctrine, these documents are irrelevant as a matter

24 of law, as they would be inadmissible as evidence. See, e.g., Schron v. Troutman

25 Sanders LLP, 20 N.Y.3d 430, 436, 986 N.E.2d 430, 433–34 (2013) (“Parol

26 evidence—evidence outside the four corners of the document—is admissible only

27 if a court finds an ambiguity in the contract.”). This evidentiary hurdle intertwines

28 and complicates both of these motions to such a degree that the best scenario from


                                   4
     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 6 of 7 Page ID #:1493



 1 the standpoint of judicial efficiency is for both motions to be before the same court.

 2 As the Eastern District of Texas has already seen many filings in the underlying

 3 lawsuit, including the full briefing of the motion to dismiss that directly led to

 4 HMD’s discovery requests, that court is the most proper forum for the Motion to

 5 Compel.

 6        Another disputed issue in HMD’s Motion to Compel is the proportionality
 7 of the discovery HMD seeks. See Memorandum of Law in Opposition to Motion

 8 by HMD Global Oy to Compel Production of Documents from Acacia Research

 9 Corporation (“ARC’s Memorandum of Law”) at 11-16. A key factor in
10 proportionality is the burden placed on the responding party as compared to the

11 likely benefit of the discovery. See Fed. R. Civ. P. 26(b)(1). ARC has provided

12 under seal estimates of the significant burden and expense that would be required

13 to comply with HMD’s subpoena. See ARC’s Memorandum of Law at 16. HMD’s

14 Motion to Compel thus presents a possible scenario that would be extremely

15 damaging to ARC: if this Court were to rule in favor of HMD and then the Eastern

16 District of Texas were to find that the documents produced were inadmissible as

17 evidence, the massive expenditure of resources by ARC will have been a complete

18 waste. This extraordinary and expensive burden, in light of the complete lack of

19 benefit from retrieving irrelevant documents, would be disproportional and

20 therefore outside the scope of discovery. See Fed. R. Civ. P. 26(b)(1). see also

21 Laub. v. Horbaczewski, 2020 WL 5093089, *9 (C.D. Cal. 2020) (Stevenson, M.J.)

22 (denying defendant additional discovery in the form of burdensome examination of

23 text messages, the denial of which would not impede their defense). Accordingly,

24 the Eastern District of Texas is in a superior position to judge both the

25 proportionality and the need for HMD’s discovery requests from ARC.

26                                 IV.    CONCLUSION
27        ARC requests that this Court transfer HMD’s Motion to Compel Production
28 to the Eastern District of Texas, the court overseeing the underlying litigation.


                                   5
     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
Case 8:20-mc-00127-JLS-JDE Document 25-1 Filed 12/31/20 Page 7 of 7 Page ID #:1494



 1 Dated: December 31, 2020                Respectfully submitted,
 2
                                           /s/ Stephanie R. Wood
 3                                         Stephanie R. Wood
 4
                                           California Bar No. 242572
                                           Jeffrey R. Bragalone (pro hac vice
 5                                         pending)
 6                                         Texas Bar No. 02855775

 7                                         BRAGALONE CONROY PC
 8                                         2200 Ross Avenue
                                           Suite 4500W
 9                                         Dallas, TX 75201
10                                         Tel: (214) 785-6670
                                           Fax: (214) 785-6680
11                                         swood@bcpc-law.com
                                           jbragalone@bcpc-law.com
12

13                                         Ben M. Davidson
14
                                           California Bar No. 181464
                                           DAVIDSON LAW GROUP, ALC
15                                         4500 Park Granada Blvd., Suite 202
16
                                           Calabasas, California 91302
                                           Tel: (818) 918-4622
17                                         Ben@dlgla.com
18
                                           Attorneys for Respondent
19                                         ACACIA RESEARCH
20                                         CORPORATION

21

22

23

24

25

26

27

28


                                   6
     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER
